Case 1:07-mj-O0996-MDG Document 7 Filed 09/17/07 Page 1 of 2 PagelD #: 28

CALENDAR : MAGISTRATE’S PROCEEDING

 

BEFORE MAG, JUDGE Soa Avvo VY DATE: F109 TIME:
[OBR 09-99loW\ LOG #: tae i.ge

 

DEFENDANT’S NAME : Cz

 

 

 

 

 

resent Present ___ Custody Lom
DEFENSE COUNSEL :
____ Federal Defender _ CJA ____ Retained
A.U.S.A: DEPUTY CLERK :
INTERPRETER : (Language)
Tend signin, Hearing-held. Hearing adjourned to
_____ Defendant was released on PRB with/without some conditions.

 

Defendant was advised of bond conditions by the Court and signed the bond.

Samim Mohammad Saco
Surety (ies) were sworn and advised of bond obligations by the Court and signed the bond.

Additional surety (ies) to co-signed bond by

 

At this time, defense counsel states on the record that the defendant does not have a bail
application / package. Order of detention entered with leave to reapply to a Magistrate
or to the District Court Judge to whom the case will be assigned.

 

Order of Excludable Delay entered. Code Type Start Stop
Order of Speedy Trial entered. Code Type Start Stop
Defendant’s first appearance. __ Defendant arraigned on the indictment.

Defendant informed of rights.

Defendant entered NOT GUILTY PLEA to ALL counts of the Indictment.
Status conference set for @ before Judge

OTHERS :

 

 

 
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United States District Court
EASTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA ORDER SETTING CONDITIONS
OF RELEASE AND BOND
Vv.
Case No.:
Hussein Sara 07-77bM
Defendant

RELEASE ORDER

It is hereby ORDERED that the above-named defendant be released as follows, subject to the Standard Conditions of Bond on the reverse and:
{ ] Upon Personal Recognizance Bond on his/her promise to appear at all scheduled proceedings as required, or
pon Unsecured Bond executed by defendant in the amount of $ ,or
Upon Secured Appearance Bond as provided herein.
Additional Conditions of Release
Upon finding that release under the standard conditions detailed on the reverse will not by themselves reasonably assure the appearance of the defendant and the
safety of-other persons and the community, IT IS FURTHER ORDERED that the defendant is subject to the following additional conditions of release:
[ The defendant must remain in and may not leave the following areas without Court ission: * — ~~
Now Wak Ch

Ly The defendant shall iL, all contact a i associate with Cap. the following persons or entities: CO a ¢ AMAL Mm PS

 

 

 

 

 

UNA wi COMWVS
[ ] 3. _ The defendant shall avoid and not go to any of the following locations: .
[ “The defendant shall surrender any and ali passports to the U.S. Pretrial Services Agency by 7 _and shall not apply for any other passport.

[ +5. Defendant i is placed under the express supervision of the Pretrial Services Agency, subject to the Special ONS n the reverse, if yy licable, and
ject to random visits by a Pretrial Services officer at defendant’s home and/or place of work; Soh! Pte

[ ust report to that agency ( ) in person times per and/or (_) by telephone times per

[ ] is subject to home detention with electronic monitoring with the following conditions:

 

 

A must undergo (random drug testing {{ evaluation and/or {/{treatment for: [ Woubstance abuse [ Jalcoholism { ] mental health problems.
[ ] must pay the cost of treatment and/or electronic monitoring by with personal funds and/or insurance.

As. Other Conditions:__ Gi ¥” INS 4 VC! ally Pesydeys fol SU IAby +2 S SE by 4 afi4
Set 4b meee 48: tee kelnt omen"

The undersigned defendant and sureties jointly and severally “OO wedge that I/we and my/our personal representatives, jointly and severally, are bound to

pay to the United States of America the sum of $ . The undersigned agree(s) that this obligation is secured with his/her/their

interest in the following property ("Collateral") which S000 tepresent is/are free and clear of liens except as otherwise indicated:

] cash deposited in the Registry of the Court the sum of $ ;

] premises located at: owned by

] I/We also agree to execute a confession of judgment in form approved by the U.S. Attorney which shall be duly filed
with the proper local and state authorities on or before

[
[
[

 

{ ] Other Conditions:

a Ata ears 260 TT SIRT Priglynr , A M909

ja SAA __. Sure DE +H, Aw. Bas
Leta DA g eS _ Address: 260 7] My S WoT Ia kIYN tNVYMZOG

Address: h& 33 Ridge Bled Hy Broollyn ny

 

   

The Court has advised the defendant of the conditions of release per 18:3142(h){1) and (h)(2). This bond is conditioned upon the appearance of the
defendant and is subject to the Standard Conditions of Bond set forth on the reverse. If the defendant fails to appear as ordered or notified, or any other condition
of this bond is not met, this bond shall be due forthwith.

I acknowledge that I am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions of release, to appear
as directed, and to surrender for service of any sentence imposed. I am aware of the penaltles and sanctions set forth,on the reverse of this form.

& . Ge
MY
-. 4 { Vv . Signature of Defendant

057)

 

y - Courtroom Deputy Pink - Pretrial Services Goldenrod - Defendant

 
